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IN THE UNITED STATES DISTRICT COURT
FOR THE DISTRICT OF MARYLAND

SOUTHERN DIVISION
STANLEY M. GRABILL, JR., *
_ Plaintiff, *
Vb =i=
CORIZON, INC., *
Defendant. * Civil Action No.: 1:13-ev-00039-JKB
NOTICE OF APPEAL

TO THE CLERK OF THIS COURT AND ALL PARTIES OF RECORD:

Take notice that Plaintiff, Stanley M. Grabill, Ji‘., by and through his undersigned
attorneys, Gregory L. Lockwood and Treanor Pope and Hughes, P.A., pursuant to Rule 3(a) of
the Federal Rules of Appellate Procedure, hereby appeal to the United States Court of Appeals
for the Foul'th Circuit the July 31, 2013 order by Judge James K. Bredar granting Defendant
Corizon, Inc.’S Motion to Dismiss, and denying Plaintiff’s Motion for Leave to File a
Supplemental Certiiicate of Merit and Report.

Respeetfully Submitted,
/Vz/ Z§<f’l`
Gregory L. Loekwood
Mal‘yland U.S. Disti'ict Bar No. 07971
Treanor Pope & Hughes, P.A.
500 York Road

Towson, Maryiand 21204
Tel: (410) 494-7777

 

Attorney for Plaintiff

Dated: August 27, 2013

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CERTIFICATE OF SERVICE
I HEREBY CERTIFY that on the B day of August, 2013, a copy of the foregoing
Notice of Appeal was filed With the Court and served upon the following counsel through the
CM/ECF system:
Philip M. Andrews, Esq.
Mary Beth Smith, Esq.
Kramon & Graham, P.A.

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Gregoly L. Lo ckwood

 

